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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                   CR-12-48-GF-BMM-01

                 Plaintiff,                 FINDINGS AND
                                            RECOMMENDATIONS TO
       vs.                                  REVOKE DEFENDANT’S
                                            SUPERVISED RELEASE
 ALICIA ARIE ARTHUR,

                 Defendant.


                                    I. Synopsis

      Ms. Arthur was accused of violating her conditions of supervised release by

failing to: (1) refrain from using controlled substances; (2) appear for urinalysis

testing; (3) find employment; (4) make monthly restitution payments; (5) submit a

monthly report to her probation officer and to contact the officer as directed; (6)

participate in a program for mental health treatment; and (7) notify the probation

officer prior to any change in residence or employment. She admitted to the

violations. Ms. Arthur’s supervised release should be revoked. She should be

placed in custody for seven months, with 29 months of supervised release to
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follow.

                                     II. Status

      In September 2012, Ms. Arthur pleaded guilty to the offense of

Robbery Affecting Commerce. Doc. 38. She was sentenced to 44 months of

custody, followed by three years of supervised release. Doc. 53. Ms. Arthur’s

period of supervised release began on October 27, 2014. Doc. 67. On December

23, 2014, the United States Probation Office filed a Report on Offender Under

Supervision, notifying the Court that Ms. Arthur had admitted to smoking

methamphetamine and heroin. Ms. Arthur’s probation officer advised the Court

that he was willing to continue supervising Ms. Arthur if she continued to follow

Child Protective Services’s treatment requirements and remained substance and

abuse free. Doc. 64.

      Petition

      The United States Probation Office filed an amended petition asking the

Court to revoke Ms. Arthur’s supervised release on March 24, 2015. In the

petition, the Probation Office accused Ms. Arthur of violating Standard Condition

7 by consuming controlled substances. The Probation Office accused Ms. Arthur

of violating Special Condition 1 by failing to appear for urinalysis testing. The

petition alleged Ms. Arthur violated Standard Condition 5 by failing to find

employment. The petition alleged Ms. Arthur violated Special Condition 9 by
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failing to make monthly restitution payments. The petition also alleged Ms. Arthur

violated Standard Condition 2 by failing to report to her probation officer as

directed. The Probation Office accused Ms. Arthur of violating Special Condition

3 by failing to participate in a program for mental health treatment. The Probation

Office also accused Ms. Arthur of violating Standard Condition 6 by failing to

notify the probation officer of any change in residence. Doc. 67. Based on the

petition, United States District Judge Brian Morris issued a warrant for Ms.

Arthur’s arrest. Doc. 68.

Initial appearance

      Ms. Arthur appeared before the undersigned on March 30, 2015, in Great

Falls, Montana. Federal Defender Evangelo Arvanetes accompanied her at the

initial appearance. Assistant United States Attorney Bryan Dake represented the

United States.

      Ms. Arthur said she had read the petition and understood the allegations.

Ms. Arthur waived the preliminary hearing, and the parties consented to proceed

with the revocation hearing before the undersigned.

Revocation hearing

      On April 7, 2015, Ms. Arthur appeared at the revocation hearing with Mr.

Arvanetes. Mr. Dake appeared on behalf of the United States.

      Ms. Arthur admitted that she violated the conditions of her supervised
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release. These violations are serious and warrant revocation of Ms. Arthur’s

supervised release.

      Ms. Arthur’s violation grade is Grade C, her criminal history category is IV,

and her underlying offense is a Class C felony. She could be incarcerated for no

more than 24 months. She could be ordered to remain on supervised release for up

to 36 months, less any custody time imposed. The United States Sentencing

Guidelines call for six to 12 months in custody.

      Mr. Arvanetes recommended a low end sentence of six to eight months of

custody. Mr. Arvanetes argued this would allow Ms. Arthur to give birth to her

child while in custody and would allow her to remain on supervised release for a

significant term. Mr. Arvanetes recommended Ms. Arthur be placed on supervised

release for 30 months, less custody. Mr. Dake recommended a sentence of seven

months of custody, followed by 29 months of supervised release. Ms. Arthur

addressed the Court and said she was always honest with her probation officer

about her violations.

                                  III. Analysis

      Ms. Arthur’s supervised release should be revoked because she admitted

violating its conditions. Ms. Arthur should be incarcerated for seven months, with

29 months of supervised release to follow. The conditions previously imposed

should be continued. This sentence would be sufficient given the seriousness of
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the violations but not greater than necessary. Ms. Arthur may have been honest

with her probation officer, but she has multiple serious violations. Moreover, she

violated conditions despite substantial efforts by her probation officer to help her

succeed on supervised release. In custody, she will be able to refrain from drug

use during the rest of her pregnancy. A long term of supervised release will help

Ms. Arthur avoid drug use, which will greatly increase her chance of reintegrating

into the community.

                                  IV. Conclusion

      Ms. Arthur was advised that the above sentence would be recommended to

Judge Morris. The Court reminded her of her right to object to these Findings and

Recommendations within 14 days of their issuance. The undersigned explained

that Judge Morris would consider Ms. Arthur’s objection, if it is filed within the

allotted time, before making a final determination on whether to revoke Ms.

Arthur’s supervised release and what, if any, sanction to impose.

The Court FINDS:

      1.     Alicia Arie Arthur violated Standard Condition 7 of her supervised
             release by consuming controlled substances on December 28, 2014,
             January 31, 2015, and February 9, 2015.

      2.     Alicia Arie Arthur violated Special Condition 1 of her supervised
             release by failing to appear for urinalysis testing twice in January
             2015, twice in February 2015, and once in March 2015.

      3.     Alicia Arie Arthur violated Standard Condition 5 of her supervised
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            release by failing to find employment.

      4.    Alicia Arie Arthur violated Special Condition 9 of her supervised
            release by failing to make any monthly restitution payments since her
            placement on supervision in October 2014.

      5.    Alicia Arie Arthur violated Standard Condition 2 of her supervised
            release by failing to submit a monthly report since her placement on
            supervision in October 2014 and by failing to contact her probation
            officer on a daily basis after February 27, 2015.

      6.    Alicia Arie Arthur violated Special Condition 3 of her supervised
            release by failing to participate in a program for mental health
            treatment.

      7.    Alicia Arie Arthur violated Standard Condition 6 of her supervised
            release by failing to notify her probation officer prior to any change in
            residence.

The Court RECOMMENDS:

            The District Court should enter the attached Judgment,
            revoking Ms. Arthur’s supervised release and committing
            Ms. Arthur to the custody of the United States Bureau of
            Prisons for seven months, with a term of 29 months of
            supervised release to follow.

        NOTICE OF RIGHT TO OBJECT TO FINDINGS AND
    RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO
                         OBJECT


      The parties may serve and file written objections to the Findings and

Recommendations within 14 days of their entry, as indicated on the Notice of

Electronic Filing. 28 U.S.C. § 636(b)(1). A district judge will make a de novo

determination regarding any portion of the Findings and Recommendations to
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which objection is made. The district judge may accept, reject, or modify, in

whole or in part, the Findings and Recommendations. Failure to timely file written

objections may bar a de novo determination by the district judge, and may waive

the right to appear and allocute before a district judge.

      Dated the 8th day of April, 2015.
